Case 1:21-cr-00289-RDM Document 78-1 Filed 08/19/23 Page 1 of 17
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July 15, 2023

Alberta Rose Zekir
145 Irwin Ave.
Houston, PA 15342

Honorable Randolph D. Moss
United States District Judge
United States Courthouse

300 Constitution Avenue, N.W
Washington, D.C. 20001

Dear Honorable Judge Moss,

| work at Royal Oak Recycling company, my position is Administrative Assistant/Scale Operator. | am
Philip C. Vogel’s mother. The first thing | want you to know is how remorseful and sorry Philip is for going
into the Capitol. He has told me this many of times. And said that if he could do it all over he would
have tried to talk the people into a peaceful protest. | gave birth to Philip when | was seventeen years
old. His father was in the military and was not present when Philip was born. Philip is the oldest out of
my 4 sons and has always been a loving and kind big brother. When Philip was younger he started going
to church with his Grandmother and younger brothers. When he was a pre teen he would go to Youth
Group and play drums in the choir. He has always had a love for music and God. He learned how to play
the drums and guitar own his own, by ear like his Grandfather did.

Philip is a very good hearted, compassionate and the most empathetic person I’ve ever know. While
Philip was in high school he volunteered to hell the mentally handicapped students. They loved him and
loved helping them.

When Hurricane Ivan hit Pennsylvania, he and a couple of friends got in a row boat and went around
picking up people and animals from their roof tops.

Philip also helped save and elderly woman’s life. He was walking to work and heard a man screaming,
Philip ran into the house to see what was going on and this mans mother was laying on the floor not
breathing. 911 was called and a few neighbors came over to see what happened but nobody wanted to
help. Philip jumped right in there and started CPR rolled the woman on her side and cleared her throat
till the medics arrived. After the medics got the situation under control, they told Philip that he saved
that woman’s life. And her son was beyond grateful.

Philip’s fiancé had an Uncle that was diagnosed with cancer and everyday he made sure he was over
there to help take care of him until his passing.

Philip also has a daughter that is the love of his life along with his fiancé. They have built a very nice and
comfortable life together. Philip and his fiancé started a Construction and Contracting business. Then
Covid hit and his company started to struggle. When this incident happened his company’s name was
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destroyed but yet they are still trying to get back on their feet. | have talked to my son and he is
remorseful and knows he should not have gone.

| just really want you to know that my son Philip C. Vogel II is a really good hearted person with a
troubled past and would do anything for anyone if he is able to, without hesitation.

Your Honor | am very afraid that any time spent in jail will set him back, after he has work so hard on
being a better person and putting his life on the right track. | humbly appeal and plead with you to not

give Philip jail time for this. | know that he has learned his lesson and is very remorseful for what he has
done.

Thank you for time and hearing a mothers plea.

Respectfully yours,

Alberta R. Zekir
Cell phone 724-579-6745
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Dear Honorable Judge Moss,

My name is Dana Kosek, and my current occupation is in the

I have known Mr. Philip Vogel for 23 years. In that time, I have seen
the worst and the best of Philip, as any person would in that amount of
time. That being said, I would like to state that I have the utmost trust
in Philip, his character, and his morals.

Mr. Philip Vogel is my co-parent, friend, and “person” if you will.
Philip and I hold a very unique relationship as in that we maintain the
most valuable responsibility that God could give two human beings;
raising a child. There are two ways to look at Philip. One, someone
can look at him on paper and make uninformed decisions, or two
someone can get to know his person and back story as I have
throughout the years. Have we had our ups and downs? Absolutely.
However, his character and moral grounding is something that can
never be wavered. In a time of need, Philip has always put himself in a
position to serve his fellow citizens without expectation. Whether it be
helping someone out of a wrecked vehicle, running into a burning
house to save a family’s dogs, giving CPR to an elderly woman,
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aiding in injustices to a minority group, or simply letting my mother
check his blood pressure for a half an hour until she could get the right
reading while she was in nursing school. All are real life examples that
Philip has done. There is simply not enough time to list the many
other things he has done to help others.

When it comes to our daughter Vera, Philip is her sun and moon. She
is definitely a daddy's girl, and has been since the day she was born.
The first smile she gave was to her daddy, and I remember it like it
was yesterday. Not only is Philip, Vera’s everything, but Vera is the
same to him. The day she was born, Philip’s life changed, as did mine,
forever. Philip provides her with the things that I can’t. He is the
presence of strength and security in her life that every child so
desperately needs. Vera will be 10 years old on October 11th, and she
will be entering fourth grade this coming school year. Having that
solid father figure has been essential to her growth and development,
and I don’t know where Vera and I would be without Philip. Philip
lunges Vera into accomplishing goals that she isn’t aware she is
capable of, like catching a 481b catfish, and climbing rocks that she is
usually afraid of. Children need their father because father’s offer a
different type of support and love that mother’s aren’t meant to
provide. I rely on Philip to be that grounding figure, and disciplinarian
when needed. Whenever I have financial difficulty I know that I can
rely on Philip. Being a single parent has been the single most difficult,
but rewarding undertaking I have encountered thus far. Without
having the consistent and continuing care, love and support of Philip,
Vera and myself would experience a tremendous loss in our family.

In knowing Philip since we were 13 years old, I have been witness to
his tremendous growth throughout the years. Philip has been faced
with many hardships that I don’t know most could have survived. To
say that I am proud that he is the father of our daughter is a great
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understatement. Throughout all of his hardships, his integrity and
compassion never falters. I am begging for your mercy at Philip’s
sentencing. I cannot function without him here to help both financially
and as Vera’s father and Guardian. I have no one that can care for Vera
during my work hours and obligations in life. Philip has not only
shown remorse for his actions, but has been in deep contemplation and
conversation with myself and others about what he could have done
differently and how he has hurt so many with his actions. Thank you
for your time and consideration of my character witness statement for
Mr. Philip Vogel.

Sincerely,

Dana Kosek
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8/03/2023
Vera Vogel,
606 Moore ave.
Bridgeville, PA. 15017

Honorable Randolph D. Moss United States District Judge United States Courthouse
300 Constitution Avenue, N.W Washington, D.C. 20001

Dear Honorable Judge Moss,

My name is Vera Vogel. | am Philip Vogel’s daughter. | am 9 years old and
| go to school at Chartiers Valley Elementary school. | love my dad more than anything. | am a
daddy’s girl. | do everything with my dad. He takes me shopping, he takes me hiking,
swimming, to the movies and mostly we love to go fishing for monster catfish and riding on the
motorcycle. | couldn't ask for a better daddy. He helps me with my schoolwork and any
problems | have in school with other kids. | have panic attacks and | need my daddy when |
have them. No one else can make me feel strong enough to get over my fear and not cry. I
have a big fear of losing my daddy. Please let my daddy stay with me. My daddy is not a bad
man. My daddy is my hero and | need him with me. Thank you for reading my letter judge
Moss,

Sincerely, Vera Vogel
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July 16, 2023

Lane T. Zekir
4 Spruce Lane
Daisytown, PA 15427

Honorable Randolph D. Moss
United States District Judge
United States Courthouse
300 Constitution Ave., N.W.

Dear Honorable Judge Moss,

My name is Lane T. Zekir, | am 25 years old and the youngest brother of Philip C. Vogel Il. | am writing
this letter on behalf of my brother Philip C. Vogel II. | work in construction and remodeling, skills | have
learned from being employed by my brother and his fiancé’s construction and contracting company. My
brother has always helped me and many others that needed employment.

| have always looked at my oldest brother as a very selfless, caring and good hearted person that always
helped anyone out with anything he could. He has always been there for me to talk to through some
struggles in my life. And, | don’t know where | would be today if it wasn't for my brother helping me.

| have talked to my brother and | know that he is very remorseful for the incident on Jan. 6". lam

pleading with to please consider no jail time for Philip C. Vogel Il. | know that he has learned a huge
lesson from the Jan. 6" incident and has lost a lot from being involved in that incident.

Sincerely,

Lane T. Zekir
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August 3, 2023

Honorable Randolph D. Moss
United States District Judge
United States Courthouse

300 Constitution Avenue. N.W.

Washington, D.C. 20001

Dear Honorable Judge Moss,

lam the manager of the Monessen Senior Center For Active Adults. | have worked there for eight years.
| have lived in Monessen, PA for twenty-one years with my husband.

lam writing this letter to you on behalf of Philip C. Vogel, Il. We have been neighbors for the past year.
It has been a pleasure getting to know Mr. Vogel and having him as my neighbor and friend. He is a
wonderful family man and an exceptional father. He spends a great deal of time with his daughter and is
very attentive to her.

Mr. Vogel is always working on his house and property. He has made several improvements to his house
such as putting in new windows and painting. He keeps his property well maintained. He is a very
responsible homeowner.

Mr. Vogel is the type of person who is willing to help his neighbors in any way that he can. | couldn’t ask
for a better neighbor and friend. He has never caused any kind of problems with any of the neighbors.

Phil and | have disussed what occured on Jan. 6th. He is completely remorseful of the whole situation.
Phil has stated several times how he wished he didn't go to the Capital Building. | know Philis a
responsible and mature adult who has a great deal of responsibilities in his life. | pray for the best for
this young man. Everyone has made bad decidions in their life. | pray you see the good in this man. He
certainly has a lot of good to offer in this society and his community.

Sincerely yours

Miriam Boso
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Honorable Randolph D. Moss
United States District Judge
United States Courthouse

300 Constitution Avenue, N.W.

Washington, D.C. 20001

August 10, 2023

Dear Honorable Judge Moss,

My name is Robert Mary. When | am asked to describe myself | would say! ama Christian, Husband,
and Father. | did not grow up ina church, but God was always on my heart. My wife, Jessica, was an
answered prayer and helped guide me during my turbulent walk in faith. | always say she was my Uber
driver. She picked me up and delivered me to Christ. Then there are my 3 boys. Everyday | wake up |
want to be the best version of myself for them. So, again, that is who! am. A Christian, Husband, and
Father. | own an insurance agency as an occupation and | help coach my oldest son’s wrestling team.

Philip and | grew up together. We are cousins through marriage, but have always considered ourselves
family. Ata young age | realized our upbringings were different. Philip’s Mom and Dad separated when
we were young and they both battled their own set of demons while trying to raise Philip and his
brothers. Philip had to grow up much faster than ! did. My small problems as a child paled in
comparison to those in which Philip faced. 1 understand that ones upbringing or environment does not
excuse behavior, but as a Christian | stand behind Romans 3:23. “For all have sinned and fall short of the
glory of God.” | have made decisions in my life that | wholeheartedly regret, but they do not define me
as aman. Just as Philip has made decisions that do not define him. What does define him is the father
he is to his daughter, Vera. A man who had few examples of what being a good father looked like is one
of the best Dads | know. His love for his daughter is unquestionable and the proof is in the work he has
done on himself. | know he too wants to be the best version of himself for her and it is something he
works at everyday. Just as!do. Philip’s past transgressions may be questioned, but his heart should
never be in doubt. He love’s his family, his friends, and would do what he can for anyone. | am honored
to call him one of my best friends.

Sincerely,

Robert Mary
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Aug.10, 2023
Paul Shook 1990 Henderson ave. Washington Pa. 15301
Honorable Randolph D. Moss United States District Judge United
States Courthouse
300 Constitution Avenue, N.W Washington, D.C. 20001
Dear Honorable Judge Moss,
I am writing this letter for/ on behalf of my nephew, Philip C. Vogel
aka (Flip) I guess I will start it by who I am ,my name is Paul C.
Shook, first I am a Christian member of cross roads Presbyterian
church, I am a master ford technician worked at Washington Ford
for 25 years and Duncan ford in key west Florida for 6 years and
now am a master RV technology my own business SHOOK'S
MOBILE RV SERVICE REPAIR LLC, have never been in trouble,
never been unemployed, I was not blessed with children, however I
can say I love Flip like a son, and if I could of picked a son out of
the 8 billionpeopleon the planet i wouldpick Flip,Have known Philip
C.Vogel since the day he was born, spent more time with him and
his brother then anyone else, his mom and dad was very young
when they had him(Flip), took them camping, fishing, Disney world
, boating ,sswimming, dirt bike riding, ect ,ect ,Flip was always a
good kid ,always helping, nice , friendly to all ,always loved animals,
dogs ,cats ,ect ,ect ,I ended up having full custody of Flip when he
was 14 ,he worked with me at the ford dealership on key west
Florida, good worker ,and liked by all ,then we moved back to

father to his Daughter Vera ,who loves him very much and they
spend a lot of time together, I see Philip or at least talk to him every
day, he works with me doing awnings, airconditioners, makes
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calls ,answers my business phone, mows grass and weed walks at
my farm, I've met his neighbors and he is well liked ,and always
willing to help them in anyway,I know for sure he didn't go to the
capital building with the intention of going in the capital building he
just went for the protest be part of history, and got caught up in the
crowd and followed them in I could see how that couldhappen,I
know you don't say sorry then explain why it's not your fault, I
know Philip is very remorseful, and wishes he could have a redo, it's
going on 3 years he has missed out on a lot waiting for this to come
to a end ,I like to ask you Honorable Judge Randolph Moss for
Leniency, I'm not saying no punishment, but please no jail time, that
would not help anyone, it would cost everyone, especially his
Daughter, and me ,his fiance Debra, all the tax payers,and we don't
deserve punishment, so maybe mandatory work to help the elderly,
or homeless or veterans or animal shelters 20 or 30 hours a week
until his debt is paid in full, then everyone wins ,and it don't cost
everyone that don't deserve punishment, also Flip is on a treatment
plan that is working very well, I would hate to see a relapse it was a
very hard time ,and he is very remorseful and it was a long 3

years ,thank you for reading Paul Shook
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August 9, 2023

Honorable Randolph D, Moss
United States District Judge
United States Courthouse

300 Constitution Avenue N.W

Washington, D.C. 20601

Dear Honorable Judge Moss,

1 ama landscaper for Joseph's Nursery in Monessen, PA. | have worked there for fifteen years. !
have lived in Monessen, PA for twenty-two years with my wife.

| am writing thus letter to you on behalf of Phil C. Vogel, Il. We have been neighbors and
friends for the past year. Phil and I have a lot in common, we both enjoy our families and taking
care of our homes. We both like to fish and spending lime working on our boats.

1 have had many discussions with Phil regarding the Jan 6" incident. I know Phil has great
remorse going to the Capital Building that day. He has told me several times how much he
regrets gomg to the Capital Building.

I know Mr. Vogel well enough to know he is a great family man, and I'm glad be is my friend. |
trust this man and he dvesn’l have a poor attitude on life. He is a great asset to our
neighborhood, and he is always there if anyone needs help. He is not a threat to anyone and has
never caused anyone to be alarmed.

Sincerely yours,

Leonard W Baso

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wh
From: flip vogel <flip30320@gmail.com>

ate a

Sent:
To:
Subject:

DearJudge Moss , | am Debra Maimone brother. Philip Vogel is my brother in law to be , 1am a contractor in Pittsburgh
PA | ama father and husband , Philip is a good dad and fiancé to my sister, he's good to his mom and daughter Vera, I've
only seen him help other's. He is a great Uncle to my young sons Asa and Artie they love it when he comes over to visit.
He was teaching Asa how to play the guitar. He is very patient and thoughtful when it comes to my kids. | know he's
been remorseful for going to the capitol and putting his family through all of this hardship, he lost his dad this past year,
which was hard on him and then Uncle Basil to brain cancer ,he traveled to Uncle Basils home and hospital, he was
there to give him comfort and fellowship with God. He has been unselfish throughout all of this ,he helped Debra’s
grandfather with plumbing and other thing's. Her grandfather is 84 year old barber from Pittsburgh and often needs
help , | just want to convey this to you the best way that | can. | know Philip loves his country ,family and most if all God,
| plead with you from my heart to give Philip a second chance to prove himself to be a good American and to not give
him jail time for this mistake he's made. | know Philip won't ever do anything like this ever again. He's learned so much
and has been through so much pain and loss in the past couple of year's. Thank you for your time. Sincerely Robert Lee

Knollinger (412)716-2171

On Fri, Aug 18, 2023 at 3:17 PM flip vogel <flip30320@gmail.com> wrote:
Dear Judge Moss, My name is Robert A Maimone. | am Debra Maimone’s Dad, and Philip Vogel is my daughter's fiancé.

1 own a commercial cleaning business called Maimone Enterprise's from Pennsylvania. | just wanted to convey to you
that Phillip is a good dad to his daughter Vera, and treats my daughter well. She has a safe home, and is well fed, and
cared for by Philip, also helped my dad of 84 years old with plumbing problems and a new ceiling. He helped me and
my wife with car repairs. He also visited my brother when he was sick with brain cancer, and helped me opena
nonprofit camp for troubled kid's in Clarion PA. He built a structure for pet's in case anyone brought pets with them to
the camp. Phil did a lot for my daughters business called Vera’s General Contracting and Cleaning services, but the
business faltered due to covid and constantly being harassed by people when they tried to advertise due to Jan 6th. |
had some words with Phil about him going to Capitol, and | know he is remorseful, and sorry for going there. He is
ashamed but is trying to start a new life with my daughter. They were supposed to get married in the summer, but they
had to hold off because of everything going on. He is an avid fisherman, and wants to take kid's out fishing, and teach
them how to rig a fishing reel. | know he just wants a chance to be a good dad and husband. I’m asking you to take into
consideration of his good works, and deeds, and to please not sentence him to jail. We need him to help us, his
daughter, and Debra. Thank you so much for taking your valuable time to read my words Judge Moss. Sincerely, Robert
A Maimone Phone number: (412)645-1605

On Fri, Aug 18, 2023 at 3:16 PM flip vogel <flip30320@gmail.com> wrote:
Dear Judge, Moss, my name is Basil Maimone | am Debbie in Philips grandfather, and great grandfather of Vera, Philip
has been in my life for about five years. My wife passed away in 2019 and my son Basil passed away in February 2023.
Philip helped me pay for my wife’s remains financially and was in the hospital with my son. He kept his company at his
home on holidays, running chores and helped around at the house. Philip has always been very nice to me and helps
me when | need it. For instance, | had a water pipe leaking in the ceiling, he fixed it and patched my ceiling. On my
birthday and Father’s Day he stopped over with Debra and Vera and we cooked out on the grill. Philip showed me all
the fish he caught and apologized for getting mixed up in the January 6th incident. He was distraught and remorseful
for being involved in that situation, telling me how sorry he is for anyone and everyone that was hurt that day. | gave
him advire that it’s never too late to make amends and turn over a new leaf. | am pleading with you judge to please be

lenient with him and to not incarcerate him, he has many responsibilities to fulfill, house payment, car payment and
caring for his daughter. Thank you for taking the time to read the words of a concerned grandfather. Sincerely, Basil
Maimone.
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Allen Orenberg

From: flip vogel <flip30320@gmail.com>
Sent: Friday, August 18, 2023 4:10 PM
To: Allen Orenberg

Subject: Re:

Dear Honorable Judge Moss My name is Greg Wood, | reside in Washington County, PA and have lived here my entire
life. | am writing this letter with the hope to shed some light on the type of man and individual Mr. Vogel is. Mr. Vogel
has been one of my friends since as far back as | can remember. Growing up for each of us wasn’t exactly easy and not
under the best of terms to say the least. Both of us had fathers that weren't exactly the best of men and caused some
pain and issues growing up not only for us but our individual families as well. Looking back on it now, being witness to
those things and going through them, Mr. Vogel and | leaned on each other a lot to get through some tough situations
and support. | am only stating this and bringing it up to state Mr. Vogel’s dedication to not only friends but family. Over
the years of life and growing up to the men we are now, those bonds and beliefs have not changed much. | have
witnessed Mr. Vogel become a loving and caring father to his daughter Vera. | have watched Mr. Vogel successfully
operate a business and build life with his girlfriend Debra. | watched Mr. Vogel purchase a home and support his family
along with taking care of the duties of being a good father. | have seen the care for his family and friends never waver
and can attest that in times of need and support Mr. Vogel still shows up for those people. In April of 2022. | had lost
my father due to a life of alcoholism and addiction, but not long before that Mr. Vogel had also lost his father in a similar
fashion. | remember the phone calls between us both regarding those situations and his advice to me about having
some sort of relationship with my father before I went through what he was going through at the time. | remember him
telling me how he felt and how he didn’t expect to feel the way he did and explained the things he wished he could have
done and said before that time came up, his advice to me helped me get to a place to be in better terms with my father
before | went through that situation. He was right, | didn’t expect to feel the way | did and hurt the way | hurt, | can
attest Mr. Vogel was there for me when | needed support and a friend once again in my life. That is a small example of
how Mr. Vogel has been a good friend to me, again as stated before, his love for family, friends, and his support of those
individuals has never changed over the years, and | don’t believe it ever will. His love for Vera and his love for Debra will
always be there as well, watching Vera light up when she is with him is simply amazing and can be pretty funny too. As
I've stated before, Mr. Vogel and | often engage in sharing our deepest thoughts, feelings and regrets. Mr. Vogel has
expressed complete and utter remorse for his actions at our nation’s capital. This remorse is not self-pity. It is a genuine
regret for any and all negative consequences that his actions have caused. Please consider this heavily when making
your decision. Sincerely, Greg W.

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July 15, 2023

Christian P. Vogel
2 Jeanette St.
Pittsburgh, PA 15221

Honorable Randolph D. Moss
United States District Judge
United State Courthouse

300 Constitution Avenue, N. W.
Washington, D.C. 20001

Dear Honorable Judge Moss,

My name is Christian P. Vogel. | am Philip C. Vogel Il’s brother. | am writing this letter on behalf of my
brother, Philip C. Vogel II whom | have known my whole life. | would like to express my thoughts and
observations about his character in light of the unfortunate event that occurred on Jan. 6 at the Capitol.

Philip is a person of good moral character, known for his strong sense of responsibility and empathy.
Throughout our lives, | have always found him to be thoughtful, considerate and committed to upholding
the principles of justice and peace. He has displayed genuine remorse for his participation in the events
of Jan. 6 and has been reflecting upon the consequences of his actions.

Since the events of that day, | have witnessed Philip engage in sincere efforts to educate himself about
the importance of respecting the rule of law and the peaceful transition of power in our democratic
society. He acknowledges his mistake in participating in the Capitol event and is taking steps to learn
from it. Philip has expressed his desire to contribute positively to his community and to society at large
moving forward.

{t is my belief that Philip’s on Jan. 6 were out of character and do not define the entirety of who he is.

He has shown remorse and a commitment to personal growth. | am asking you to please consider not
giving Philip jail time, | feel it will undoubtedly set him and the growth that he has made so far. | have

confidence that he will continue to learn from this experience and make amends.

Sincerely,

Christian P. Vogel
